Exhibit B
From:               Wolf, Lesley (USADE)
Sent:               Monday, May 15, 2023 11:17 AM
To:                 clark@clarksmithvillazor.com; Salerno, Matthew (NY)
Cc:                 McCarten, Timothy (DC); McManus, Brian (BN); Weede, Shawn (USADE); Daly, Mark F. (TAX); Hudson,
                    Carly (USADE)
Subject:            Call this week?


Chris and Matt,

We were hoping to schedule a relatively brief phone call this week with you and your team. Is there a time that works
either later this afternoon, tomorrow afternoon or on Wednesday?

Thanks,
Lesley

Lesley F. Wolf
Assistant United States Attorney
Section Chief, Economic Crimes
District of Delaware
1313 N. Market Street, Suite 400
Wilmington, DE 19801




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